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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION

 BRIAN SPARKS,
                                                  Case No. 5:23-cv-00415-MTT
      Plaintiff,
 v.

LOUISWILLIAM LLC and JOHN S RAY,

      Defendants.



[Proposed] ORDER ON CONSENT MOTION FOR EXTENSION OF TIME
            TO RESPOND TO PLAINTIFF’S COMPLAINT

       THIS MATTER is before the Court on Consent Motion for Extension of
Time to Respond to Plaintiff’s Complaint. The Court, having reviewed the file and
being fully advised in the premises, finds that there is good cause to grant the relief
requested in the Motion. It is therefore,
       ORDERED that the Motion is granted. Defendants shall respond to Plaintiff’s
Complaint on or before December 29, 2023.
       DONE AND ORDERED this ___ day of _________, 2023, in the United
States District Court, Middle District of Georgia.


                                        The Honorable Marc T. Treadwell
                                        Chief District Judge
